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Rosen, Kantrow & Dillon, PLLC
Attorneys for Richard L. Stern, Trustee
38 New Street
Huntington, New York 11743
631 423 8527
Fred S. Kantrow
UNITED STATES BANKRUPTCY COURT                                      RETURN DATE: 10/17/16
EASTERN DISTRICT OF NEW YORK                                        TIME: 9:30 a.m.
----------------------------------------------------------x
In re:
                                                                    Case No.: 16-72175-reg
         HARLOW EAST LLC,                                           Chapter 7

                                    Debtor.
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      AFFIRMATION IN SUPPORT OF ENTRY OF AN ORDER CONFIRMING
    SALE, FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND
  SECURITY INTERESTS, OF THE ESTATE’S INTEREST IN THE LEASE FOR THE
        NON-RESIDENTIAL REAL PROPERTY COMMONLY KNOWN AS
     1 LONG WHARF, SAG HARBOR, NEW YORK TO SHR HOLDINGS, LLC

         Fred S. Kantrow, being duly sworn, deposes and states as follows:

         1.        I am a partner with Rosen, Kantrow and Dillon, PLLC, counsel to Richard L. Stern,

 the Chapter 7 Trustee (“Trustee”) for the estate of Harlow East LLC, debtor (“Debtor”). As such,

 I am fully familiar with the facts and circumstances described herein.

         2.        On October 7, 2016, Trustee conducted a public auction sale (“Auction Sale”) of

 the lease for the non-residential real property commonly known as 1 Long Wharf, Sag Harbor,

 New York.

         3.        The Auction Sale was scheduled in accordance with this Court’s Order dated

 September 22, 2016 (“Auction Sale Order”). Prior to the Auction Sale, the Auction Sale Order

 was properly and timely served upon those parties entitled to notice. In addition, prior to the

 Auction Sale, notice of the Auction Sale was published in Newsday. Accordingly, notice of the

 Auction Sale was provided pursuant to sections 102, 363(b) and (f) of Title 11 of the United States
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    Code (the “Bankruptcy Code”) and Rules 2002, 4001 and 6004 of the Federal Rules of

    Bankruptcy Procedure (“Bankruptcy Rules”).

             4.    In accordance with the Auction Sale Order, the Trustee solicited bids for the

    purchase of the Lease.

             5.    SHR Holdings LLC (“Buyer”), having bid the sum of NINE HUNDRED AND

    SIXTY THOUSAND DOLLARS ($960,000.00) (“Purchase Price”), was the successful bidder

    for the Lease. The offer from the Buyer was the highest and best offer received by the Trustee at

    the Auction Sale.

             6.    Buyer, at the Auction Sale, provided Trustee with a down payment in the amount

    of FIFTY THOUSAND DOLLARS ($50,000.00). Subsequently, consistent with the Auction Sale

    Order, Buyer remitted an amount sufficient such that the Trustee is currently holding 25% of the

    Purchase Price. In addition, at the Auction Sale, Buyer executed the terms and conditions of the

    sale.

             7.    The sale to Buyer is an arm’s length transaction, and the sale of the Debtor’s interest

    in the Lease to the Buyer is being entered into in good faith by the parties hereto. As such, Trustee

    submits that Buyer will be acting in good faith pursuant to Section 363(m) of the Bankruptcy

    Code in closing on the purchase of the Lease.

             8.    Moreover, the sale of the Debtor’s interest in the Lease to the Buyer is a reasonable

    exercise of the Trustee’s business judgment. Trustee and his professionals actively marketed and

    advertised the Auction Sale of the Lease consistent with the terms of the Auction Sale Order. The

    Buyer’s offer for the purchase of the Lease represents the highest and best offer received by

    Trustee, and Trustee believes that Buyer’s offer is fair and reasonable. As such, a valid business




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    purpose exists for the approval of the sale of Debtor’s interest in the Lease to the Buyer pursuant

    to Sections 363(b), (f), (h) and (m) of the Bankruptcy Code.

          9.      Accordingly, Trustee respectfully requests that this Court approve the annexed

    proposed Order confirming the sale of the Lease.

Dated: Huntington, New York
       October 17, 2016

                                                 Rosen, Kantrow & Dillon, PLLC
                                                 Attorneys for Richard L. Stern, Trustee

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